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                                                                               Michael Massey <massey@352law.com>



         Fwd: McKnight #181456 due 5/1
         1 message

         Tanya Batten <t.batten01@gmail.com>                                                Thu, Jan 17, 2019 at 3:08 PM
         To: massey@352law.com




           Tanya K. Batten
           M&M Appraisal Service
           PO Box 6034
           Ocala, Fl 34478
           352-572-3125

           Begin forwarded message:


              From: "Todd L Barfield" <tbarfield@barfieldassociates.com>
              Date: May 1, 2018 at 8:49:55 AM EDT
              To: "'Tanya Batten'" <t.batten01@gmail.com>
              Subject: RE: McKnight #181456 due 5/1


              Ready to upload. Check purchase price to make sure there are no addendums or anything raising it to
              cover seller concessions please. I’m pretty sure this is Mercury…it had another amc on it.



              Todd L Barfield, MAI, MRICS, CCIM
              Barfield & Associates, LLC
              Ocala

              Phone 352.861.2522 | Fax 352.861.2177

              Mobile 352.895.8000

              Orlando

              Phone 407.284.1997 | Fax 407.730.3584

              www.barfieldassociates.com

              tbarfield@barfieldassociates.com




1 of 2                                                                                                              1/17/19, 8:00 PM
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              From: Tanya Batten [mailto:t.batten01@gmail.com]
              Sent: Sunday, April 29, 2018 7:38 PM
              To: Todd L Barfield; Todd Barfield
              Subject: McKnight #181456 due 5/1




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              Tanya K. Batten

              Barfield & Associates, LLC

              Cell (352) 572-3125

              www.barfieldassociates.com




            2 attachments



                                                     image001.jpg
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                   181456.clk
                   2271K




2 of 2                                                                                                                   1/17/19, 8:00 PM
